          Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 1 of 21



1    EDELSBERG LAW, P.A.
     Scott Edelsberg (CA Bar No. 330090)
2    scott@edelsberglaw.com
3    1925 Century Park East, Suite 1700
     Los Angeles, CA 90067
4    Tel: 305-975-3320
     Fax: 786-623-0915
5
     SHAMIS & GENTILE, P.A.
6    Andrew J. Shamis (pro hac vice forthcoming)
7    ashamis@shamisgentile.com
     14 NE 1st Avenue, Suite 705
8    Miami, FL 33132
     Tel: (305) 479-2299
9
     Attorneys for Plaintiff and the Putative Class
10

11                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
12   ROBERT ETRI, individually, and on behalf of        Case No.: _________
13   all others similarly situated,
                                                        CLASS ACTION COMPLAINT
14                         Plaintiff,

15          v.                                          JURY TRIAL DEMANDED
16   ONE MEDICAL GROUP, INC,
17
                            Defendant.
18

19          Plaintiff, Robert Etri (“Plaintiff”), individually and on behalf of all others similarly

20   situated, hereby brings this Class Action Complaint against Defendant, One Medical Group, Inc.,
21   (“Defendant” or “One Medical”), and alleges as follows:
22
                                           INTRODUCTION
23
            1.     This lawsuit is brought as a class action on behalf of Plaintiff and thousands of
24
     similarly situated One Medical customers who have been deceived into paying annual
25

26   membership fees (“AMFs”). One Medical represents to customers that they must pay these AMFs

27   in order to obtain any medical care or services from One Medical when, in fact, payment of the

28   AMFs is entirely optional.


                                         CLASS ACTION COMPLAINT
          Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 2 of 21




            2.     One Medical is a membership-based “concierge” medical practice with at least 60
1

2    offices nationwide. Founded in 2007, One Medical added 80,000 new patients in 2015 and is

3    currently valued at over $1 billion.
4           3.     Anyone with certain insurance coverage accepted by One Medical can seek
5
     medical services at a One Medical office. Upon information and belief, Aetna, Anthem Blue
6
     Cross, Blue Shield, Chinese Community Health Plan, Cigna, Health Net, and United Health Care,
7
     among others, all cover medical services provided by One Medical as an “in-network” provider.
8
9           4.     One Medical also offers additional, optional services to so-called “members,” such

10   as use of its mobile app and online appointment booking and messaging. To receive these

11   additional, optional services and become a “member,” consumers must pay an AMF of $149-
12
     $199 per year. However, neither “membership” nor payment of the AMF is actually required to
13
     receive medical services through One Medical. The well-kept secret of One Medical is that
14
     payment of the AMF is not required to make an appointment at a One Medical office or receive
15
     medical services from a One Medical provider.
16

17          5.     Nevertheless, One Medical falsely and deceptively represents that payment of the

18   AMF is required in order to obtain any medical services, and intentionally omits that the AMF is
19   optional.
20
            6.     CareFirst BlueCross BlueShield, one of the health insurers that offered insurance
21
     coverage for One Medical, explicitly stated in a letter to its insureds (and One Medical) that One
22
     Medical's attempts to impose the AMF as a precondition to access services is improper:
23
           One Medical insists that it be able to require that CareFirst members pay an annual access
24
           fee of $200 prior to receiving any primary care services from One Medical. Such a
25         requirement is prohibited by CareFirst's current PCMH contract with One Medical, since
           CareFirst members have the right to access all health care services covered as part of
26         their health plan with CareFirst without-as a pre-condition-being required to pay an
           additional access fee from any PCMH provider ... CareFirst has repeatedly advised One
27         Medical that any access fee must be voluntary for CareFirst members ... For some time,

28
                                        CLASS ACTION COMPLAINT
                                                      -2-
          Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 3 of 21




            CareFirst has had an agreement with One Medical making it clear that no access fee is
1
            required for CareFirst members.
2
             7.    Still, One Medical forces consumers to pay the AMF before it allows them to access
3
     services through One Medical, and deceives consumers regarding the necessity of paying that fee
4
     when in fact that fee is (and must be) optional for individuals receiving healthcare services
5

6    covered under their health insurance policies.

7            8.    The optional services covered by the AMF are limited. Recognizing that consumers
8    would not want to voluntarily pay $149-$199 per year for use of little more than a mobile
9
     application and online appointment booking and messaging, One Medical engaged in this
10
     sustained, deliberate deception specifically designed and intended to maximize revenue.
11
             9.    During all relevant times, One Medical's misrepresentations and omissions were
12

13   made, inter alia, on its website and its mobile application, where customers could sign up and

14   pay the AMF. In furtherance of its scheme, One Medical intentionally designed its website and

15   mobile application such that it is impossible to create a One Medical account without paying the
16   AMF.
17
             10.   Additionally, consumers who try to sign up with One Medical over the telephone
18
     or in person are told that the AMF is mandatory and that they could not make an appointment or
19
     receive any services until they paid the AMF.
20

21           11.   In sum, there is no practical way for a consumer to opt-out of paying what is

22   supposed to an optional annual membership fee and still obtain medical services through One

23   Medical.
24
             12.   Had Plaintiff and the Class members known known the AMFs were not required in
25
     order to receive medical services through One Medical, they would not have paid them.
26
             13.   Plaintiff and the Class members have been injured by One Medical's practices.
27
     Plaintiff brings this action on behalf of himself, the putative Class, and the general public.
28
                                       CLASS ACTION COMPLAINT
                                                      -3-
             Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 4 of 21




     Plaintiff seeks actual damages, punitive damages, restitution, and an injunction on behalf of the
1

2    general public to prevent One Medical from continuing to engage in its illegal practices described

3    herein.
4                                                     PARTIES
5
               14.     Plaintiff Robert Etri is a citizen and resident of Miami-Dade County, Florida. He
6
     was a One Medical member from 2017 to the present. Believing it to be mandatory to receive
7
     care at a One Medical facility, Plaintiff paid the $199 AMF in at least May 2020.
8
9              15.     Defendant One Medical is a California corporation with its principal place of

10   business in San Francisco, California. One Medical is a “concierge” medical practice with at least

11   60 offices nationwide. The company is purportedly valued at over $1 billion. 1
12                                        JURISDICTION AND VENUE
13
               16.     This Court has original jurisdiction of this action under the Class Action Fairness
14
     Act of 2005. Pursuant to 28 U.S.C. §§ 1332(d)(2) and (6), this Court has original jurisdiction
15
     because the aggregate claims of the putative class members exceed $5 million, exclusive of
16

17   interest and costs, and at least one of the members of the proposed class is a citizen of a different

18   state than One Medical.

19             17.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)(1) and (2) because
20
     One Medical is subject to personal jurisdiction here and resides in this District, and because a
21
     substantial part of the events giving rise to the claims of Plaintiff asserted herein occurred in this
22
     District.
23

24

25

26

27

28
     1
         See https://www.cnbc.com/2017/07/18/one-medical-snags-new-ceo-amir-rubin-from-unitedhealth.html
                                             CLASS ACTION COMPLAINT
                                                            -4-
          Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 5 of 21




                                       FACTUAL ALLEGATIONS
1

2            A.    One Medical’s Misrepresentations and Omissions

3            18.   One Medical provides primary care medical services through a network of
4    physicians and medical professionals in 60 offices nationwide. Those medical services are
5
     covered-as medical services through many other physicians and groups would be-as an in-
6
     network visit under various well-subscribed health insurance plans, including Aetna, Anthem
7
     Blue Cross, Blue Shield, Chinese Community Health Plan, Cigna, Health Net, and United Health
8
9    Care.

10           19.   Upon, information and belief, each of the contracts between One Medical and those

11   health insurers prohibits the assessment of "pay-to-play" fees, such as AMFs, charged by One
12
     Medical for access to its services.
13
             20.   The Affordable Care Act also prohibits the assessment of this type of fee to access
14
     many types of medical services.
15
             21.   Individuals with health insurance are entitled to receive services covered by their
16

17   plan at no additional cost, outside of their co-pay or deductible. One Medical knows it is

18   prohibited from charging extra-contractual fees for covered services, but most consumers do not.
19   One Medical capitalizes on this informational disadvantage by charging AMFs that consumers
20
     think they are paying to be a part of the One Medical "Group" of consumers who are eligible to
21
     receive medical care at One Medical offices. The premise is fundamentally deceptive.
22
             22.   One Medical does not want its potential members and members to know about the
23
     above prohibitions, or to know that the vast majority of services it provides are covered under
24

25   their health insurance policies because One Medical profits from its steep, automatically-

26   recurring annual AMFs, which consumers think they are paying as a prerequisite to receive
27

28
                                           CLASS ACTION COMPLAINT
                                                     -5-
          Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 6 of 21




     treatment at a One Medical facility, but which they are in fact paying for optional services of
1

2    dubious value.

3           23.    Accordingly, One Medical misrepresents to consumers that individuals who are
4    covered by health insurance policies for which One Medical is considered "in-network" must
5
     also pay the AMF to be eligible to receive treatment at One Medical offices, and omits that the
6
     AMFs are optional.
7
            24.    For example, if a woman wants to schedule a "well-woman" visit, and that woman
8
9    has a healthcare policy under the Affordable Care Act, that visit is supposed to be free-meaning

10   no copay, regardless of whether the woman has met her yearly deductible-provided the woman

11   chooses to go to an in-network provider, such as One Medical. But even when One Medical is
12
     in-network, an ordinary well-woman visit there is not free because the woman must pay the AMF.
13
     There is no practical way a woman can access that free, in-network service at One Medical
14
     without first paying the AMF because One Medical fails to disclose that women are able to
15
     receive the exact same treatment for free and misrepresents the necessity of paying the AMF.
16

17          25.    Indeed, at least one health insurance company has warned One Medical about the

18   impropriety of its conduct. As set forth above, CareFirst BlueCross BlueShield sent a letter to its
19   members on October 20, 2017, in which it stated that it told One Medical's that its AMF must be
20
     optional under its agreement.
21
            26.    In other words, the One Medical's AMF must only cover services not included in
22
     an individual's healthcare plan and only when a consumer knowingly chooses to pay the fee for
23
     access to the additional services.
24

25          27.    The fact that One Medical is prohibited from up-charging services that are already

26   included under consumers' healthcare policies means that consumers should be able to access the
27

28
                                          CLASS ACTION COMPLAINT
                                                      -6-
          Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 7 of 21




     vast majority of One Medical's services without paying the fee, including receiving treatment
1

2    from a One Medical clinician at a One Medical office.

3           28.    One of the only alleged benefits of the One Medical membership that is arguably
4    not already covered by an individual's insurance is the use of the One Medical mobile application
5
     and website portal, which allows members to request prescription refills online, book
6
     appointments online, and interface with clinicians. But consumers do not consider these alleged
7
     benefits as extra, as they do not know that they are separate from medical services included under
8
9    their insurance plans. Because Medical misrepresents its AMF as a necessary prerequisite to

10   receive any care at a One Medical facility, and omits that the AMF is optional, consumers choose

11   One Medical thinking that those separate services are simply an extra benefit One Medical offers.
12
            29.    One Medical’s misrepresentations are both implicit and explicit on the One
13
     Medical website and in other policy documentation. For example, the following question and
14
     answer in One Medical’s online FAQ, displayed at least until December 2017, expressly makes
15
     a false statement:
16

17         Q: If I have insurance, do I still need to pay the membership fee?

18         A: Yes. Insurance and the annual membership fee are two separate, unrelated items.
           We are in network with most PPO and HMO insurance plans, and will handle all the
19         insurance paperwork for any of your visits. In that regard, we are similar to many more
           traditional doctor's offices. The membership fee, however, helps us offer services that are
20         not typically covered by health insurance, such as online/email consultation, mobile
           prescription renewals, and other conveniences.
21

22   (Emphasis added).

23          30.    As discussed herein, the above representation is false and misleading. Insurance

24   and the AMF are not "two separate, unrelated items." Individuals with insurance are not required
25   to pay the AMF in order to make an appointment at a One Medical office and receive treatment
26
     from a One Medical clinician.
27

28
                                        CLASS ACTION COMPLAINT
                                                      -7-
          Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 8 of 21




             31.   Moreover, the very structure of the online and mobile portals requires consumers
1

2    to pay the AMFs before they may access the medical services for which they are eligible.

3    Throughout the sign-up process on both the One Medical website and mobile application, there
4    is no option to skip payment of the AMF. Payment is required to complete enrollment, and it is
5
     one of the first steps in the process.
6
             32.   Indeed, throughout the enrollment process, One Medical fails to inform consumers
7
     at any point that the membership fee is optional for individuals with insurance for which One
8
9    Medical is covered in-network.

10           33.   One Medical charges these recurring, non-optional AMFs to members' credit cards,

11   without informed consent, even when it knows those members carry insurance would not pay the
12
     AMF if given an option.
13
             34.   Through both affirmative misrepresentations and omissions, One Medical leads
14
     reasonable consumers like Plaintiff to believe that the membership is required to in order to
15
     receive any treatment or services at a One Medical office from a One Medical clinician.
16

17           35.   The following excerpts of online complaints demonstrates how One Medical

18   willfully fails to disclose to consumers that its membership fees are optional in order to receive
19   treatment at a One Medical office:
20
           About 95% of the primary care physicians on my insurance plan work in One Medical
21         offices. I tried to call and book and an appointment and was told I would have to apply
           for a financial hardship waiver - in order to see my doctor without the privilege of
22         paying $150 for One Medical.
23         I used to love this place. I paid the membership fee, but let it lapse as I haven't been to
           the doctor in a year. When I went to make an appointment, I was pressed for the
24
           membership fee. I said no. Then I was transferred to a membership associate to "answer
25         my questions." I was then cajoled and shamed to pay the fee, or sign the waiver. I was
           asked how much I make a year. II I had seen an incredible doctor there who recently
26         left OM. Now I'm wondering if their new policies are what pushed her out. When I
           asked the new doctor a question, she said, "That's no longer in our current model of
27         offerings." Sounds a lot like corporate speak to me. I guess this is what happens when
28         a for-profit company gets into the medical care business.
                                          CLASS ACTION COMPLAINT
                                                      -8-
          Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 9 of 21




1
            36.    Through its misrepresentations and omissions, One Medical intentionally coerces
2
     consumers into paying for healthcare services already covered by their insurance. If Plaintiff and
3
     members of the Class knew the membership fee was optional to receive care at a One Medical
4

5    facility, they would not have paid it.

6          B.      Plaintiff’s Experience

7           37.    Plaintiff signed up for One Medical in 2017. Believing that the annual membership
8    fee was mandatory in order to receive an appointment at a One Medical office, Plaintiff paid the
9
     AMF when he signed up. At all relevant times, Plaintiff had valid health insurance for which One
10
     Medical Group was in-network.
11
            38.    Immediately before signing up for One Medical, Plaintiff viewed One Medical's
12

13   website, including the representations regarding the AMF contained thereon. The

14   misrepresentations and omissions on the One Medical website made him believe that payment of

15   the AMF was required in order to obtain medical care or services through One Medical.
16
     Additionally, Plaintiff had to pay the AMF in order to complete the online registration process,
17
     so there was no way to sign up without paying the AMF.
18
            39.    One Medical never disclosed to Plaintiff that the AMF was optional, nor did One
19
     Medical give Plaintiff the choice to "opt out" of the AMF. As such, Plaintiff believed that he was
20

21   (and in fact was) required to pay the AMF in order to obtain any medical services thorough One

22   Medical, including those services covered by his health insurance policy.
23          40.    Had Plaintiff known the AMF was optional in order to receive medical services
24
     through One Medical, he would not have paid the fee.
25

26

27

28
                                         CLASS ACTION COMPLAINT
                                                     -9-
         Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 10 of 21




                                        CLASS ALLEGATIONS
1

2           PROPOSED CLASS

3           41.    Plaintiff brings this lawsuit as a class action on behalf of himself and on behalf of
4    all others similarly situated pursuant to Rule 23 of the Federal Rules of Civil Procedure. The
5
     “Class” that Plaintiff seeks to represent is comprised of and defined as:
6
                   All persons in the United States who paid One Medical's "annual
7                  membership fee" during the applicable statutes of limitations through
                   the date a class is certified.
8
9           42.    Excluded from the Class are Defendant and its affiliates, parents, subsidiaries,

10   employees, officers, agents, and directors. Also excluded are any judicial officers presiding over

11   this matter and the members of their immediate families and judicial staffs.
12
            43.    This case is appropriate for class treatment because Plaintiff can prove the elements
13
     of their claims on a class wide basis using the same evidence as would be used to prove those
14
     elements in individual actions alleging the same claims.
15
            NUMEROSITY
16

17          44.    The members of the Class are believed to be so numerous that joinder of all

18   members is impracticable. Plaintiff does not know the number of members in the Class but
19   believes the Class members number in the several thousands, if not more. The identity of such
20
     membership is readily ascertainable via inspection of Defendant’s books and records or other
21
     approved methods. Class members may be notified of the pendency of this action by mail, email,
22
     internet postings, and/or publication.
23
           COMMON QUESTIONS OF LAW AND FACT
24

25          45.    There are common questions of law and fact as to Plaintiff and all other similarly

26   situated persons, which predominate over questions affecting only individual Class members,
27   including, without limitation:
28
                                        CLASS ACTION COMPLAINT
                                                     -10-
         Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 11 of 21




           a)      Whether payment of One Medical's AMF is optional;
1

2          b)      Whether One Medical required customers to pay its AMF before providing

3                  consumers with any health services;
4          c)      Whether One Medical's representations about its AMF are false, misleading,
5
                   deceptive or likely to deceive;
6
           d)      Whether One Medical failed to disclose that its AMF is optional;
7
           e)      Whether One Medical's failure to disclose that its AMF is optional constituted a
8
9                  material omission likely to deceive;

10         f)      Whether One Medical provided an effective way for consumers to opt-out of

11                 paying the AMF;
12
           g)      Whether Plaintiff and the Class members were damaged by One Medical’s
13
                   conduct;
14
           h)      Whether One Medical’s actions or inactions violated the consumer protection
15
                   statute invoked herein; and
16

17         i)      Whether Plaintiff is entitled to a preliminary and permanent injunction enjoining

18                 Defendant’s conduct.
19          46.    Predominance of Common Questions: Common questions of law and fact
20
     predominate over questions that affect only individual members of the Class. The common
21
     questions of law set forth above are numerous and substantial and stem from Defendant’s uniform
22
     practices applicable to each individual Class member. As such, these common questions
23
     predominate over individual questions concerning each Class member’s showing as to his or her
24

25   eligibility for recovery or as to the amount of his or her damages.

26

27

28
                                        CLASS ACTION COMPLAINT
                                                     -11-
         Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 12 of 21




            TYPICALITY
1

2           47.    Plaintiff’s claims are typical of the claims of the other members of the Class

3    because, among other things, Plaintiff and all Class members were similarly injured through
4    Defendant’s uniform misconduct as alleged above. As alleged herein, Plaintiff, like the members
5
     of the Class, were deprived of monies that rightfully belonged to them. Further, there are no
6
     defenses available to Defendant that are unique to Plaintiff.
7
            PROTECTING THE INTERESTS OF THE CLASS MEMBERS
8
9           48.    Plaintiff is an adequate class representative because they are fully prepared to take

10   all necessary steps to fairly and adequately represent the interests of the Class, and because their

11   interests do not conflict with the interests of the other Class members they seek to represent.
12
     Moreover, Plaintiff’s attorneys are ready, willing, and able to fully and adequately represent
13
     Plaintiff and the members of the Class. Plaintiff’s attorneys are experienced in complex class
14
     action litigation, and they will prosecute this action vigorously.
15
            SUPERIORITY
16

17          49.    The nature of this action and the claims available to Plaintiff and members of the

18   Class make the class action format a particularly efficient and appropriate procedure to redress
19   the violations alleged herein. If each Class member were required to file an individual lawsuit,
20
     Defendant would necessarily gain an unconscionable advantage since it would be able to exploit
21
     and overwhelm the limited resources of each individual Plaintiff with its vastly superior financial
22
     and legal resources. Moreover, the prosecution of separate actions by individual Class members,
23

24   even if possible, would create a substantial risk of inconsistent or varying verdicts or

25   adjudications with respect to the individual Class members against Defendant, and which would

26   establish potentially incompatible standards of conduct for Defendant and/or legal determinations
27   with respect to individual Class members which would, as a practical matter, be dispositive of
28
                                        CLASS ACTION COMPLAINT
                                                      -12-
         Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 13 of 21




     the interests of the other Class members not parties to adjudications or which would substantially
1

2    impair or impede the ability of the Class members to protect their interests. Further, the claims

3    of the individual members of the Class are not sufficiently large to warrant vigorous individual
4    prosecution considering all of the concomitant costs and expenses attending thereto.
5
                                                COUNT I
6                 Violation of California’s Consumers Legal Remedies Act (“CLRA”)
                                     Cal. Civ. Code §§ 1750 , et seq.
7                                   (Asserted on Behalf of the Class)
8           59.    Plaintiff repeats and realleges the above allegations as if fully set forth herein.
9
            60.    The Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750, et seq., was designed
10
     and enacted to protect consumers from unfair and deceptive business practices. To this end, the
11
     CLRA sets forth a list of unfair and deceptive acts and practices in Civil Code § 1770.
12

13          61.    Plaintiff and each member of the Class are "consumers" within the meaning of Cal.

14   Civil Code§ 1761(d).

15          62.    Plaintiff and the Class members engaged in "transactions" with One Medical within
16
     the meaning of Cal. Civil Code § 1761(e) when they paid AMFs.
17
            63.    Plaintiff has standing to pursue these claims because he has suffered injury in fact
18
     and a loss of money and/or property as a result of the wrongful conduct alleged herein.
19
            64.    Defendant violated and continues to violate California Civil Code §§ 1770(a)(5),
20

21   (a)(9), (a)(14), and (a)(19) by misleading consumers that payment of the AMFs are mandatory in

22   order to receive medical services through One Medical when in fact they are optional.
23          65.    Defendant continues to violate the CLRA and continue to injure the public by
24
     misleading consumers about the mandatory nature of their AMFs. Accordingly, Plaintiff seeks
25
     injunctive relief on behalf of the general public to prevent Defendant from continuing to engage
26
     in these deceptive and illegal practices. Otherwise, Plaintiff, the Class members, and members of
27

28
                                        CLASS ACTION COMPLAINT
                                                      -13-
         Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 14 of 21




     the general public may be irreparably harmed and/or denied effective and complete remedy if
1

2    such an order is not granted.

3           66.    Defendant had a duty not to mislead consumers about the AMFs, and the optional
4    nature of the AMFs were material in that a reasonable person would have considered it important
5
     in deciding whether or not to pay the AMFs.
6
            67.    Defendant’s concealment, omissions, misrepresentations, and deceptive practices,
7
     in violation of the CLRA, were designed to induce and did induce Plaintiff and Class members
8
9    to pay the AMFs.

10          68.    Defendant’s acts, practices, representations, omissions, and courses of conduct

11   with respect to the AMFs violate the CLRA in that, among other things: they violated and
12
     continue to violate § 1770(a)(5) because Defendant knowingly misrepresent(ed) that
13
     "membership" was required to obtain medical care and services; violated and continue to violate
14
     § 1770(a)(9) because Defendant knowingly advertise(d) services with intent not to sell them as
15
     advertised; violated and continue to violate § 1770(a)(14) because Defendant knowingly
16

17   misrepresent(ed) that "membership" confers the right to obtain medical care and services; and

18   violated and continue to violate § 1770(a)(19) because Defendant require(d) consumers to pay
19   the AMF to obtain medical services.
20
            69.    Defendant’s acts and practices, undertaken in transactions intended to result and
21
     which did result in the payment of AMFs by consumers, violate Cal. Civil Code § 1770 and
22
     caused harm to Plaintiff and Class members.
23
            70.    In accordance with Cal. Civ. Code § 1780(a), Plaintiff and the Class members seek
24

25   injunctive and equitable relief on behalf of the general public for violations of the CLRA,

26   including restitution and disgorgement.
27

28
                                       CLASS ACTION COMPLAINT
                                                    -14-
         Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 15 of 21




            71.    On February 3, 2022, Plaintiff's counsel mailed One Medical a notice of its
1

2    violations of Cal. Civil Code § 1770 in accordance with Cal. Civil Code § 1782. One Medical

3    failed to make the demanded corrections within thirty (30) days of receipt of Plaintiff's notice.
4           72.    As Defendant failed to implement remedial measures, Plaintiff and the Class
5
     members seek injunctive relief under Cal. Civil Code § 1782(d), enjoining the above described
6
     wrongful conduct by Defendant, as well as, actual and punitive damages for their CLRA claims.
7
            73.    Plaintiff seeks the recovery of court costs and attorneys' fees pursuant to Cal. Civil
8
9    Code § 1780(e).

10                                            COUNT II
                       Violation of California’s False Advertising Law (“FAL”)
11                              Cal. Bus. & Prof. Code § 17500, et seq.
                                   (Asserted on Behalf of the Class)
12

13          74.    Plaintiff repeats and realleges the above allegations as if fully set forth herein.

14          75.    California’s False Advertising Law, Cal. Bus. & Prof. Code § 17500, states that

15   “[i]t is unlawful for any ... corporation ... with intent … to dispose of ... personal property ... to
16
     induce the public to enter into any obligation relating thereto, to make or disseminate or cause to
17
     be made or disseminated ... from this state before the public in any state, in any newspaper or
18
     other publication, or any advertising device, or by public outcry or proclamation, or in any other
19
     manner or means whatever, including over the Internet, any statement...which is untrue or
20

21   misleading and which is known, or which by the exercise of reasonable care should be known,

22   to be untrue or misleading....”
23          76.    Defendant’s material misrepresentations and omissions alleged herein violate Bus.
24
     & Prof. Code § 17500.
25
            77.    Defendant knew or should have known that its misrepresentations and omissions
26
     were false, deceptive, and misleading.
27

28
                                         CLASS ACTION COMPLAINT
                                                       -15-
         Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 16 of 21




               78.   Pursuant to Business & Professions Code §§ 17203 and 17500, Plaintiff and the
1

2    members of the Class, on behalf of the general public, seeks an order of this Court enjoining

3    Defendant from continuing to engage, use, or employ their practice of misrepresenting that
4    payment of the AMF is mandatory in order to obtain medical care and services from One Medical.
5
               79.   Further, Plaintiff and the members of the Class seek an order requiring Defendant
6
     to disclose such misrepresentations, and additionally request an order awarding Plaintiff
7
     restitution of the money wrongfully acquired by Defendant by means of said misrepresentations.
8
9              80.   Additionally, Plaintiff and the Class members seek an order requiring Defendant to

10   pay attorneys’ fees pursuant to Cal. Civ. Code § 1021.5.

11                                             COUNT III
                       Violation of California’s Unfair Competition Law (“UCL”)
12                               Cal. Bus. & Prof. Code § 17200, et seq.
13                                   (Asserted on Behalf of the Class)

14             81.   Plaintiff repeats and realleges the above allegations as if fully set forth herein.

15             82.   Plaintiff and the members of the Class have standing to pursue a cause of action
16
     against Defendant for unfair and/or unlawful business acts or practices because they have
17
     suffered an injury-in-fact and lost money due to Defendant’s actions and/or omissions as set forth
18
     herein.
19
               83.   California Business & Professions Code § 17200 prohibits acts of “unfair
20

21   competition,” including any “unlawful, unfair or fraudulent business act or practice.”

22             84.   Defendant’s deceptive conduct related to material omissions and/or material
23   misrepresentations that the AMF was mandatory violates each of the statute’s “unfair,”
24
     “unlawful,” and “fraudulent” prongs.
25
               85.   The UCL imposes strict liability. Plaintiff need not prove that Defendant
26
     intentionally or negligently engaged in unlawful, unfair, or fraudulent business practices—but
27

28   only that such practices occurred.
                                          CLASS ACTION COMPLAINT
                                                        -16-
         Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 17 of 21




            86.       A business act or practice is “unfair” under the UCL if it offends an established
1

2    public policy or is immoral, unethical, oppressive, unscrupulous, or substantially injurious to

3    consumers, and that unfairness is determined by weighing the reasons, justifications, and motives
4    of the practice against the gravity of the harm to the alleged victims.
5
            87.       Defendant’s practices as described herein are (a) immoral, unethical, oppressive,
6
     and/or unscrupulous and violate established public policy as recognized by, inter alia, causing
7
     injury to consumers which outweigh any purported benefits or utility.
8
9           88.       A business act or practice is “fraudulent” under the UCL if it is likely to deceive

10   members of the public.

11          89.       Defendant’s practices, as described herein, constitute “fraudulent” business within
12
     the meaning of the UCL, in that they intentionally and knowingly misrepresented that the AMF
13
     was mandatory, through both their affirmative misrepresentations and material omissions. Such
14
     representations and omissions are likely to deceive reasonable consumers, to the consumer’s
15
     detriment.
16

17          90.       A business act or practice is “unlawful” under the UCL if it violates any other law

18   or regulation.
19          91.       Among other statutes, laws, and/or regulations, Defendant’s acts and practices
20
     violate the following statutes, laws, and/or regulations:
21
               a. Violating Cal. Civ. Code § 1750, et seq.;
22
               b. Engaging in conduct in which the gravity of harm to Plaintiff and the Class
23
                      outweighs the utility of the Defendant’s conduct; and/or
24

25             c. Engaging in acts and/or practices and/or omissions that are immoral, unethical,

26                    oppressive, and/or unscrupulous and causes injury to consumers which outweigh
27                    its benefits.
28
                                          CLASS ACTION COMPLAINT
                                                       -17-
         Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 18 of 21




            92.    Defendant knew or should have known that its representations regarding the AMF
1

2    were false, deceptive, and misleading.

3           93.    The harm to Plaintiff and the Classes outweighs the utility of Defendant’s practices.
4    There were reasonably available alternatives to further Defendant’s legitimate business interests,
5
     other than the misleading and deceptive conduct described herein.
6
            94.    Reasonable consumers had no way of knowing that Defendant was engaged in
7
     false, deceptive, and misleading advertising, and therefore could not have reasonably avoided the
8
9    injuries that they suffered.

10          95.    Defendant’s wrongful conduct is ongoing and part of a patter or generalized course

11   of conduct repeated on thousands of occasions yearly.
12
            96.    Defendant’s business practices have misled Plaintiff and the proposed Class and
13
     will continue to mislead them in the future.
14
             97.   Plaintiff relied on Defendant’s misrepresentations.
15
             98.   Had Plaintiff known the AMF was option, they never would have paid for it.
16

17          99.    As a direct and proximate result of Defendant’s unfair, fraudulent, and/or unlawful

18   practices, Plaintiff and Class members suffered and will continue to suffer actual damages.
19          100. Pursuant to Bus. & Prof. Code § 17203, Plaintiff seeks an injunction on behalf of
20
     the general public enjoining Defendant from continuing to engage in the unfair competition
21
     described above, or any other act prohibited by law.
22
            101. Plaintiff also seeks rescission and an order requiring Defendant to make full
23
     restitution and to disgorge its ill-gotten gains wrongfully obtained from members of the Class as
24

25   permitted by Bus. & Prof. Code § 17203.

26          102. Additionally, Plaintiff and the Class members seek an order requiring Defendant
27   to pay attorneys' fees pursuant to Cal. Civ. Code § 1021.5.
28
                                        CLASS ACTION COMPLAINT
                                                     -18-
         Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 19 of 21




                                                COUNT IV
1
                                            Unjust Enrichment
2                                     (Asserted on Behalf of the Class)

3           103. Plaintiff repeats and realleges the above allegations as if fully set forth herein.
4           104. By means of the wrongful conduct alleged herein, Defendant knowingly
5
     misrepresented that payment of the AMF was required in a way that was unfair, unconscionable,
6
     and oppressive.
7
            105. Plaintiff the members of the Class conferred an economic benefit upon Defendant
8
9    by paying the AMFs, and Defendant had an appreciation or knowledge of the benefit conferred

10   by Plaintiff and the members of the Class.

11          106. Plaintiff and members of the Class would not have paid the AMFs had they known
12
     that it was optional.
13
            107. Defendant accepted and retained the economic benefit conferred by Plaintiff and
14
     members of the Class under circumstances as to make it inequitable for Defendant to retain the
15
     benefit without payment of its value.
16

17          108. The financial benefits obtained by Defendant rightfully belong to Plaintiff and

18   members of the Class. Defendant should be compelled to disgorge in a common fund for the
19   benefit of Plaintiff and members of the Class all wrongful or inequitable proceeds of its conduct.
20
     A constructive trust should be imposed upon all wrongful or inequitable sums received by
21
     Defendant traceable to Plaintiff and the members of the Class.
22
                                          PRAYER FOR RELIEF
23
            WHEREFORE, Plaintiff, individually and on behalf of the Class, demands a jury trial on
24

25   all claims so triable and judgment as follows:

26                  A.       Certifying the proposed Class, appointing Plaintiff as representative of the
27          Class, and appointing counsel for Plaintiff as lead counsel for the Class;
28
                                          CLASS ACTION COMPLAINT
                                                       -19-
         Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 20 of 21




                   B.     Declaring that Defendant’s conduct as described herein constitute violation
1

2           of California’s Consumers Legal Remedies Act, California’s False Advertising Law,

3           California’s Unfair Competition Law and/or unjust enrichment.
4                  C.     Enjoining Defendant from the wrongful conduct as described herein;
5
                   D.     Requiring Defendant to restore Plaintiff and members of the Class any
6
            monies that were acquired by means of its false and deceptive advertising, with interest;
7
                   E.     Awarding compensatory, direct, and consequential damages in an amount
8
9           to be determined at trial;

10                 F.     Awarding punitive and/or treble damages as the Court deems appropriate;

11                 G.     Awarding pre-judgment interest at the maximum rate permitted by
12
            applicable law;
13
                   H.     Reimbursing all costs, expenses, and disbursements accrued by Plaintiff in
14
            connection with this action, including reasonable attorneys’ fees, costs, and expenses,
15
            pursuant to applicable law and any other basis; and
16

17                 I.     Granting such other and further relief as this Court deems just and proper.

18                                   DEMAND FOR JURY TRIAL

19         Plaintiff and all others similarly situated hereby demand trial by jury on all issues in this
20
     Class Action Complaint that are so triable.
21
     Dated: April 25, 2022                         Respectfully submitted,
22
                                                   EDELSBERG LAW, P.A.
23
                                             By:/s/ Scott Edelsberg
24
                                                 Scott Edelsberg (CA Bar No. 330090)
25                                               scott@edelsberglaw.com
                                                 1925 Century Park East, Suite 1700
26                                               Los Angeles, CA 90067
                                                 Tel: 305-975-3320
27

28
                                         CLASS ACTION COMPLAINT
                                                      -20-
     Case 3:22-cv-02504-JCS Document 1 Filed 04/25/22 Page 21 of 21




                                   SHAMIS & GENTILE, P.A.
1
                                   Andrew J. Shamis (pro hac vice forthcoming)
2                                  ashamis@shamisgentile.com
                                   14 NE 1st Avenue, Suite 705
3                                  Miami, FL 33132
                                   Tel: (305) 479-2299
4

5                                  Attorneys for Plaintiff and the Putative Class

6

7

8
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                            CLASS ACTION COMPLAINT
                                       -21-
